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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                                             03/14/2023

                                                  :
    SET CAPITAL LLC, et al.,                      :
    Individually                                  :
    and on Behalf of All Others Similarly         :
    Situated,                                     :     18-cv-02268-AT-SN
                                                  :
                                Plaintiffs,       :
                                                  :
          -against-                               :
                                                  :           FOURTH AMENDED
    CREDIT SUISSE GROUP AG,                       :
    CREDIT SUISSE AG, CREDIT                                     CIVIL CASE
                                                  :             MANAGEMENT
    SUISSE INTERNATIONAL,                         :
    TIDJANE THIAM, DAVID R.                                 PLAN AND SCHEDULING
                                                  :                ORDER
    MATHERS, JANUS HENDERSON                      :
    GROUP PLC, JANUS INDEX &                      :
    CALCULATION SERVICES LLC,                     :
    and JANUS DISTRIBUTORS LLC                    :
    d/b/a/ JANUS HENDERSON                        :
    DISTRIBUTORS,                                 :
                                                  :
                                Defendants.
                                                  :

SARAH NETBURN, United States Magistrate Judge:

      This Civil Case Management Plan (the “Plan”) is submitted by the parties1 in accordance
with Rule 26(f)(3), Fed. R. Civ. P.

1. All parties do not consent to conducting all further proceedings before a magistrate judge,
   including motions and trial. 28 U.S.C. § 636(c). The parties are free to withhold consent
   without adverse substantive consequences.

2. This case is to be tried to a jury.

3. All motions and applications shall be governed by the Court’s Individual Practices, including
   premotion conference requirements, except that motions in limine may be made without a
   pre-motion conference.




1
         The parties for purposes of this stipulation are plaintiffs and Credit Suisse Group AG, Credit
         Suisse AG, Credit Suisse International, Tidjane Thiam and David R. Mathers.
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4. Fact Discovery

    a. Except as provided in Paragraph 4(b), all fact discovery shall have been completed by
       February 28, 2023.

    b. The following additional fact discovery shall be completed no later than April 14, 2023:

             i. Deposition of Elena Rodger, currently scheduled for March 27, 2023;

            ii. Rule 30(b)(6) Deposition of Credit Suisse in accordance with this Court’s March
                1, 2023 order;2

    c. At least two weeks prior to a scheduled deposition date, Defendants shall provide a
       document-by-document privilege log for each of the noticed deponents.

    d. The parties are to conduct discovery in accordance with the Federal Rules of Civil
       Procedure and the Local Rules of the Southern District of New York.

5. Plaintiffs’ Motion to Amend3:

    a. Plaintiffs shall file any motion to amend the Amended Consolidated Class Action
       Complaint no later than April 21, 2023.

    b. Defendants shall file any opposition to Plaintiffs’ motion to amend no later than May 22,
       2023.

    c. Plaintiffs shall file their reply brief no later than June 5, 2023.

6. Expert Discovery:

    a. Plaintiffs shall identify their expert(s) and the topic(s) upon which they will testify no
       later than seven (7) days after the District Court has issued a decision on Plaintiffs’
       motion to amend.

    b. Plaintiffs shall serve their expert report(s) no later than twenty-one (21) days thereafter.

    c. Defendants shall serve their expert report(s) no later than forty-five (45) days after
       service of Plaintiffs’ expert report(s).




2
     Plaintiffs reserve their right to seek discovery for anything arising out of these two depositions and
     Mr. Thiam’s March 3, 2023, deposition. Defendants reserve their right to oppose any such efforts.
3
     By agreeing to a briefing schedule on Plaintiffs’ anticipated motion to amend, Defendants do not
     intend to waive, and expressly preserve, all rights and defenses to such a motion, including, but not
     limited to, all arguments as to the untimeliness of any such motion under this Court’s scheduling
     orders or any applicable rule.


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    d. Plaintiffs’ expert rebuttal report(s) shall be served no later than thirty (30) days after
       service of Defendants’ report(s).

    e. All expert discovery, including all expert depositions, shall be completed no later than
       sixty (60) days after service of Plaintiffs’ expert rebuttal report(s).

7. Summary Judgment:

    a. All motions for summary judgment shall be filed no later than thirty (30) days after the
       close of expert discovery.

    b. Oppositions to motions for summary judgment shall be filed no later than thirty (30)
       days thereafter.

    c. Reply briefs in further support of summary judgment shall be filed no later than twenty-
       one (21) days after the service of any oppositions to motions for summary judgment.

8. All counsel must meet face-to-face or via Zoom for at least one hour to discuss settlement
   within fourteen (14) days following the close of the fact discovery outlined in Paragraph
   4(b).

9. The Final Pretrial Submission Date is sixty (60) days after a decision of the District Court
   on the motion(s) for summary judgment. By the Final Pretrial Submission Date, the parties
   shall submit a Joint Pretrial Order prepared in accordance with the Court’s Individual
   Practices and Rule 26(a)(3), Fed. R. Civ. P. Any motions in limine shall be filed no later than
   thirty (30) days after a decision on the motion(s) for summary judgment and the pre-motion
   conference requirement is waived for any such motion. If this action is to be tried before a
   jury, proposed voir dire questions, jury instructions and verdict form shall also be filed by the
   Final Pretrial Submission Date. Counsel are required to meet and confer on a joint
   submission of proposed jury instructions and verdict form, noting any points of disagreement
   in the joint submission. Jury instructions may not be submitted after the Final Pretrial
   Submission Date, unless they meet the standard of Rule 51(a)(2)(A), Fed. R. Civ. P. If this
   action is to be tried to the Court, proposed findings of fact and conclusions of law should be
   submitted bythe Final Pretrial Submission Date. If no motions for summary judgment are
   filed, then the Final Pretrial Submission Date is sixty (60) days after the deadline for filing
   motions for summary judgment.

10. Counsel for the parties have conferred and their present best estimate of the length of
    trial is: two weeks.




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This ORDER may not be modified or the dates herein extended, except by further order of this
Court for good cause shown. Any application to modify or extend the dates herein shall be made
in a written application in accordance with paragraph I.B. of the Court’s Individual Practices and
shall be made no less than five (5) days prior to the expiration of the date sought to be extended.

 TheORDERED.
SO   parties' requested extensions are GRANTED in part and DENIED in part. Specifically, any
 motion to amend the complaint must be filed by April 21, 2023, and the identification of
 Plaintiffs' experts is due seven days after a decision on Plaintiffs' motion to amend.
                                                               ______________________________
 SO ORDERED.                                                                     SARAH NETBURN
                                                                       United States Magistrate Judge

Dated: March , 2023
New York, New York

 Dated: March 14, 2023
        New York, New York




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